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                      IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION
DEV NDRA ELLIS CLARK, .                   )
   j
               Petitioner,                    )

       v.                           )                   CV 103-145
                                                        (Underlying CR 302-004)
UNITED STATES OF AMERICA, )
                           )
         Respondent .  )


         MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION


       Petitioner DeAndra Ellis Clark ("Petitioner") filed the above -captioned case pursuant

to 28 U.S.C. § 2255 . For the reasons stated below, the Court REPORTS and

R]4COMMENDS that Petitioner's § 2255 motion be DENIED, that this civil action be

CI;OSED, and that a final judgment be ENTERED in favor of the United States of America

("tue Government") .

I. BACKGROUND
  II
        On April 4, 2002, a federal grandj ury returned an indictment charging Petitioner with

one count of bank robbery, one count of brandishing a firearm during the commission of a

crime of violence, and one count of conspiracy to accomplish the afore-mentioned offenses,

in iiolation of 18 U.S .C . §§ 2113(a) & (d), 924(c), and 371, respectively . CR 302-004, doc .

no ; 1 . On June 19, 2002, Petitioner pled guilty to bank robbery and brandishing a firearm .
   i
CI 302-004, doc . no. 28, pp. 8-9 . In addition, Petitioner explicitly waived the right to

ch~llenge his conviction and sentence by direct appeal or collateral attack . Id . at 7 . Finally,

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Petitioner explicitly stated in his plea agreement that be "entered this agreement as a matter
    I
of [jh .is] free and voluntary choice and not as a result of pressure or intimidation by any

per$on ." Id . at 11 ; see also id. at 13 .

         At the Rule 11 colloquy following Petitioner's change of plea, the Court explained

the consequences of Petitioner's plea, as well as his waiver of his right to an appeal or


col ateral attack . Rule 11 Tr., pp . 17-19 . Upon the Court's inquiry, Petitioner related that

he vas guilty of the counts charged, and that there were no further facts that should be

br+ght to the Court's attention . Id . at 25 . The Court also explained the significance of the
    I
waiver at Petitioner's sentencing . Sentencing Tr., p. 14 . On September 17, 2002, the Court

sentenced Petitioner to 37 months of imprisonment as to the robbery charge and 84 months

as o the brandishing charge, to be served consecutively for a total of 121 months of

irn risonment. CR 302-004, doe . no . 32 .
    i
         Petitioner filed no direct appeal, but filed an unsigned and undated § 2255 motion on

S tember 19, 2003 . CV 103-145, doc. no . 1 . After Petitioner ignored the Clerk's

de ciency notice, the Court ordered Petitioner to file "a properly completed amended

petition" which .would "supercede and replace in its entirety the previous petition filed by

Pet tioner ." CV 103-145, doc. no . 4. On November 4, 2003, Petitioner executed his

am-6nded petition. CV 103-145, doe . no . 5 .

         Petitioner alleged the following grounds for relief in his initial, unsigned petition : 1)

he received ineffective assistance of counsel ; 2) there was insufficient evidence to support

his brandishing conviction ; and 3) his sentence . was improperly enhanced "for brandishing ."

CV 103-145, doe . no . 1, pp . 4-6 . In his amended petition, Petitioner argues : 1) his counsel
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"m de [him] waive [his] rights ; 2) his counsel never explained to him that his plea agreement

contained a waiver of his right to collaterally attack his sentence ; 3) the evidence was

ins fficient to support his brandishing conviction ; and 4) his sentence was improperly

enhanced "for brandishing ." CV 103-145, doc. no. 5, pp . 4-6.

          The Government has filed its response--to which Petitioner has made a reply--and the

matter is now ripe for resolution. CV 103-145, doe. nos . 8, 10 .

II.        DISCUSSION

           Petitioner Effectively Waived His Right to Collateral Attack.

           A waiver of appeal' provision is enforceable if the waiver is knowing and voluntary .

United States v . Weaver, 275 F .3d 1320, 1333 (11th Cir . 2001) ; United States v . Bushert ,

99 F .2d 1343, 1350 (11th Cir . 1993) . "To establish the waiver's validity, the government

must show either that (1) the district court specifically questioned the defendant about the

provision during the plea colloquy, or (2) it is manifestly clear from the record that the

defendant fully understood the significance of the waiver ." Weaver, 275 F .3d at 1333 . Ifthe

      ~ernment meets this burden in the instant case, then Petitioner's current claims are barred

from review . See United States v . Pease , 240 F.3d 938, 942 (11th Cir. 2001) (per curiam)

(enforcing waiver provision where defendant was specifically questioned during plea

prcieeedings about waiver) ; United States v . Howle , 166 F .3d 1166, 1168-69 (11th Cir .

19)9) ; United States v. Benitez-Zapata, 131 F .3d 1444, 1146-47 (11th Cir . 1997) .

           Although Petitioner has attempted to argue either that his counsel "made [him] waive



         'By "appeal," the Court here refers to the right to "appeal or contest, directly or
collaterally, [a] . sentence ." Bushert, 997 F .2d at 1345 .

                                                  3
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[his] rights " or "never explained " to him that he was waiving his right to collateral attack,

these contentions are affirmatively contradicted by the trial record ' CV 103-145, doc . no .

5, p. 4, 5 . As explained above, Petitioner signed a plea agreement expressly waiving his

rig] t to appeal and collateral attack, and avowing that he entered into these terms knowingly

an voluntarily. In addition to signing and dating this plea agreement , Petitioner initialed and

dated each page--thus, he cannot seriously contend that he was unaware of the provisions of

the agreement . CR 302-04, doc . no 28, pp. 1-13. Also as explained above , at both the Rule

11 ~olloquy and at sentencing , the Court explained to Petitioner the consequences of entering

int~ the plea agreement, including the appeal waiver . Rule 11 Tr., pp . 16-18 ; Sentencing Tr .,

p. 4 . Petitioner explicitly informed the Court that he understood the plea agreement and the

appeal waiver, and averred that he wished to plead guilty .' Rule 11 Tr . pp . 17-19, 25 .

        Thus, even if Petitioner's counsel failed to properly explain the significance of the



         'Any ineffective assistance of counsel claims that do not relate directly to the
vo untariness or intelligence of Petitioner's plea are barred by the waiver in his plea
ag; eement . See Williams v . United States , 396 F .3d 1340, 1342 (11th Cir . 2005)(per
cu; lam) ; see also Vaca-Ortiz v . United States , 320 F . Supp .2d 1362, 1365-66 (N.D. Ga .
20 04) .

         3To the extent Petitioner may argue that he did not understand the agreement or the
pr ceedings, this too is belied by the record. Upon inquiry at the Rule 11 colloquy, Petitioner
told the Court that his ability to understand , read, write, and speak the English language was
"[ xcellent." Rule 11 Tr. p . 5 . Petitioner also specifically assured the Court that he had no
tro ble reading or understanding the plea agreement, and that he had reviewed the document
wi his attorney. Id . at 5, 8 . Petitioner 's counsel also explained to the Court that he had
64g one over" the plea agreement with Petitioner in detail . Id . at 7 . Petitioner also averred at
the Rule 11 colloquy that he understood the charges against him and the Government's
b den of proof. Id. at 11-12 . He then explained that he was guilty of the counts charged,
an stated that there were no further facts of which the Court should be aware . Id. at 11 .
Finally, when given the opportunity to ask any questions, Petitioner stated that he had none .
Id. at 15 . In sum , Petitioner utterly fails to demonstrate that he was not fully aware of the
co sequences of his guilty plea, or that he entered into the plea agreement involuntarily .

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plea agreement and waiver, no prejudice inured to Petitioner because the Court did not fail

to do so . Petitioner would have the Court ignore the Rule 11 colloquy ; however, "[s]olemn

declarations in open court (at the guilty plea hearing) carry a strong presumption of verity"

and "constitute a formidable barrier in any subsequent collateral proceedings ." Blackledge

v. Allison, 431 U .S . 63, 74 (1977) . In light of the record evidence, the threadbare allegations

of Petitioner's petition, original or as amended, are insufficient to generate an issue of fact

as to the validity of his appeal waiver . It is true that Petitioner requests an evidentiary

hearing as to the matter, but the Court is entitled to deny relief without an evidentiary hearing

"if the motion and the files and records of the case conclusively show that the prisoner is

entitled to no relief." Long v . United States , 883 F .2d 966, 968 (11th Cir . 1989) ; see also

Stephens v . United States , 14 F . Supp .2d 1322, 1334 (N .D. Ga. 1998)("A hearing is not

required on patently frivolous claims or those which are based upon unsupported

generalizations . Nor is a hearing required where the petitioner's allegations are affirmatively

contradicted by the record ." (citation omitted)) . The Government has made such a showing

in this case.

        Because the Court determines that the waiver is enforceable and bars the instant

proceeding, it need not reach the Government's arguments regarding the timeliness of

Petitioner's amended claims or the merits of Petitioner's remaining arguments . Nevertheless,

in an abundance of caution, it will do so .

        Amended Claims Not Reflected in the Original Petition Are Untimely.

        Motions under § 2255 are subject to a one-year statute of limitations which begins
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to run on "the date on which the judgment of conviction becomes final ."4 Petitioner filed no

direct appeal, so his conviction became final on September 27, 2002, or ten (10) days after

his judgment of conviction, when the time in which to file a direct appeal expired . See Fed .

R. App . P . 4(b)(1) ; Fed . R. App . P . 26(a)(2001) .5 Petitioner's initial, unsigned petition was

filed on September 19, 2003, and thus timely, but the amended petition, executed on

November 4, 2003, was filed after the period of limitations had expired .

        Thus, at issue is whether the amended claims "relate back" to the original, unsigned

petition . Under Federal Rule of Civil Procedure 15(c), an amended claim relates back to the

date of the original pleading if it "arose out of the conduct, transaction, or occurrence set

forth or attempted to be set forth in the original pleading ." Fed . R . Civ. P . 15(c)(2) .6 Rule

15(c) is narrow ; it does not contemplate the addition of "an entirely new claim based on a

different set of facts ." Farris v. United States, 333 F .3d 1211, 1215 (11th Cir. 2003)(per

curiam )(citing Pruit v. United States , 274 F.3d 1315,1318 (11th Cir. 2001)) . Thus, "to relate

back, an untimely claim must have more in common with the timely filed claim than the



        'It is true that, in certain circumstances , the statutory period begins to run on a date
other than the date upon which the conviction became final ; however, Petitioner has outlined
no basis upon which to suppose that any of these circumstances apply in his case . See 28
U.S .C. § 2255 .

        'Because the Court entered Petitioner's judgment of conviction in September 2002,
the time in which he could file a direct appeal was governed by the then-existing form of
Federal Rule of Appellate Procedure 26, rather than the present version, which became
effective December 1, 2002 . (The present version, unlike that in operation at the time of .
Petitioner's conviction, only counts business days in computing the time in which to file an
appeal.)

        'The Federal Rules of Civil Procedure apply to § 2255 proceedings, to the extent that
they are not inconsistent with any statutory provision or the Rules Governing Section 2255
Proceedings . Rule 12 of the Rules Governing Section 2255 Proceedings .

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mere fact that they arose out of the same trial or sentencing proceeding ." Farris , 333 F .3d

at 1215 (citing Davenport v . United States , 217 F .3d 1341, 1344 (11th Cir . 2000)) . As the

Eleventh Circuit has explained :

                The key consideration is that the amended claim arises from the same
        conduct and occurrences upon which the original claim was based . This may
        be the case even if one or both claims do not explicitly state supporting facts .
        When the nature of the amended claim supports specifically the original
        claim, the facts there alleged implicate the original claim , even if the original
        claim contained insufficient facts to support it . One purpose of an amended
        claim is to fill in facts missing from the original claim .

Dean v . United States , 278 F .3d 1218, 1222 (11th Cir . 2002)(per curiarrr) . In other words,

at issue is whether the amended claim is merely an attempt to "flesh out" an original claim,

or if the amended claim relies upon different facts.

        The Government . argues that Petitioner's amended petition seeks to include new

ineffective assistance of counsel claims which cannot relate back to any of the claims in his

original petition. The Court agrees . In his original petition , Petitioner argues, in a single run-

on sentence which is both vague and conclusory, that his attorney was ineffective :

                [Petitioner] contends counsel provided him ineffective assistance at
        sentencing and through this proceeding [sic] counsel [sic] performance
        prejudiced [Petitioner's] defense and this deficient performance passes the
        two components that are required by Strickland [sic] if not for counsels [sic]
        deficient performance there is a reasonable probability that if (Petitioner)
        would have went [sic] to trial no jury would have found him guilty beyond
        a reasonable doubt that [Petitioner] brandished a firearm or [Petitioner ' s] plea
        could have been different .

CV 103- 145, doe . no. 1, p. 5 .

        In contrast, in his amended petition, Petitioner states :

                [Petitioner ' s] attorney made me waive my rights and he was
        ineffective throughout the proceeding . . . [C]ounsel never explained to him
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       that he was waiving his Right [sic] to file a 2255 and at the plea hearing
       [Petitioner] thought he was given [sic] up the right to trial.

CV 103-145, doc . no . 5, pp . 4-5 . The Government correctly notes that the original and the

amended claims are at once contradictory . In his original petition, Petitioner argued that his

counsel was ineffective because Petitioner should have gone to trial because "no jury would

have found him guilty." CV 103-145, doc . no . 1, p . 5 . In his amended petition, Petitioner

argues instead that his counsel did not explain that Petitioner would be waiving the right to

collaterally attack his conviction and sentence by entering into the plea agreement . CV 103-

145, doc . no . 5, p. 5 .

         The two claims depend upon different facts . The original claim presents the idea

that Petitioner was duped into pleading guilty when he was actually innocent of the

brandishing charge ; the amended claim argues instead that Petitioner meant to waive his

right to trial, but not his right to challenge his conviction and sentence . The Court is not

persuaded that the amended claim relates back to the original, as they rely on different and

contradicting factual predicates . And, of course, as to the notion that Petitioner did not

understand his rights or that his attorney "made" him waive those rights, the Court has

already noted that any such claim is contradicted by the plea agreement and the Rule i 1

colloquy . Thus, even if timely, the Petitioner's ineffective assistance claims relating to his

plea .agreement fail .

C. None of Petitioner 's Claims Have Merit.

         Regardless, even assuming that Petitioner's claims are timely and are not barred by

his appeal waiver, none of them have merit . Petitioner's claims regarding his counsel's
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failure to ensure that his plea agreement was entered into knowingly and voluntarily cannot

prevail in light of the record, as discussed . Petitioner's claims regarding the sufficiency of

the evidence and his counsel's failure to advise him to go to trial also fail .

        Petitioner admitted to his actual guilt as to the charges, including the brandishing

charge, in both the plea agreement and at the Rule 11 colloquy . In addition, as the

Government notes, in a successful attempt to obtain an acceptance of responsibility

reduction, Petitioner provided the following statement, "During the course of the robbery

    I carried and brandished a firearm ." Presentence Investigation Report ("PSP'), ¶ 17 .

Petitioner presents no basis in fact whatsoever to conclude that his attorney's performance

was deficient in any way or that he is factually innocent of the charges to which he pled

guilty. Finally, Petitioner's belief that he received an "enhancement for brandishing" (CV

103-145, doc . no . 1, p. 5 ; doc . no . 5, p . 5) is mistaken--he did not receive a firearms

enhancement, only a consecutive sentence for his § 924(c) conviction . PSI 1 20.

        In sum, Petitioner pled guilty and waived his right to collaterally attack his

conviction and sentence . He has identified no irregularity or error in his criminal

proceedings, nor has he offered any facts . to support the notion that his counsel's

performance was deficient . His petition, original or as amended, should be denied .

III . CONCLUSION

        Because Petitioner validly waived his right to collateral review, his claims are barred

from review in this § 2255 proceeding . Regardless, none of his claims have merit .

Accordingly, the Court REPORTS and RECOMMENDS that Petitioner's § 2255 motion

be DENIED, that this civil action be CLOSED, and that a final judgment be ENTERED
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in favor of the Government.

       SO REPORTED and RECOMMENDED thioay of May, 2005, at Augusta,

Georgia.




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                              United States District Court
                                 Southern District of Georgia

ATTORNEYS SERVED :
                                                   CASE NO : CV 103-145
Deandra Ellis Clark, Pro-se                        DATE SERVED : May 24, 2005
Amy Lee Copeland, Esq .
                                                    SERVED BY: Cindy Reynolds




                                                    Q Copy placed in Minutes
                                                    D Copy given to Judge

                                                    [ZI Copy given to Magistrate
